Case 2:04-cr-20460-STA Document 7 Filed 05/11/05 Page 1 of 2 Page|D 8

UNITED STATES DISTRICT CoURT ““~~"` -: M!z,/
WESTERN DISTRICT oF TENNESSEE
Western Division

 
 

UNITED STATES OF AMERICA "

Ir » '-\~-" ",`_
. lui§it'l=~r~li;-

-vs- Case No. 2:04cr20460-B

CHRISTOPHER M. WALDEN

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of oounsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Aot (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

' The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
- All purposes including trial and appeal

DONE and OR])ERED in 167 North Main, Memphis, this //¥ l`day ofMay, 2005.

p(Qt/¢.M§¢, /C. 2401/bg

DIANE K. VESCOVO
UNITED STATES MAGISTRATE IUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
Intake

CHRISTOPHER M. WALDEN

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:04-CR-20460 Was distributed by faX, mail, or direct printing on
May l 1, 2005 to the parties listed.

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

